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 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                       ) Case No.:
                                         )
12   SITHA THACH AND MEINCHANNY          ) COMPLAINT FOR DAMAGES:
     MEM, SUCCESSORS IN INTEREST TO      )
13                                       )    1. DEPRIVATION OF CIVIL
     STEVEN THACH
                                         )       RIGHTS, 42 U.S.C. §1983,
14                                       )
                 Plaintiffs,                     WRONGFUL DEATH;
                                         )    2. DEPRIVATION OF CIVIL
15                                       )
            vs.                                  RIGHTS, 42 U.S.C. §1983, MONELL
                                         )       VIOLATIONS.
16                                       )
     COUNTY OF LOS ANGELES, SHERIFF           3. DEPRIVATION OF CIVIL
     JIM MCDONALD, SHERIFF ALEX          )
17                                       )       RIGHTS, 42 U.S.C. §1983,
     VILLANUEVA, COUNTY OF LOS                   SUPERVISORY LIABILITY;
                                         )
18   ANGELES DEPARTMENT OF MENTAL )           4. NEGLIGENCE;
     HEALTH DIRECTOR JONATHAN E.         )    5. VIOLATION OF GOVERNMENT
19   SHERIN, M.D. Ph.D, CURLEY BONDS,    )       CODE §845.6- FAILURE TO
     M.D., GUL M. EBRAHIM, M.D. AND DOES )       PROVIDE IMMEDIATE
20   1-10, INCLUSIVE,                    )       MEDICAL CARE
                                         )    6. VIOLATION OF THE ADA, 42
21                                       )
                 Defendants.                     U.S.C. §12101, AND CALIFORNIA
                                         )       UNRUH ACT, CIVIL CODE §51
22                                       )
                                         )
23                                       ) DEMAND FOR JURY TRIAL
                                         )
24

25




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 1                                 I. JURISDICTION AND VENUE
 2      This action is brought by Plaintiffs SITHA THACH AND MEINCHANNY MEM, as
 3
     SUCCESSORS IN INTEREST TO STEVEN THACH pursuant to 42 U.S.C. §1983.
 4
       1. This Court had jurisdiction under 28 U.S.C. §1342(4) for violations of the 1871 Civil
 5
          Rights Enforcement Act, as amended, including 42 U.S.C. §1983, and under 28 U.S.C.
 6
          §1331.
 7
       2. The acts and omissions complained of commenced on December 29, 2017 and continued
 8
          until March 26, 2018, within the Central District of California. Therefore, venue lies in
 9
          this District pursuant to 28 U.S.C. §1391.
10
       3. Plaintiffs timely filed an administrative claim with the County of Los Angeles pursuant to
11
          Cal. Gov’t Code §910. The claim was denied on September 12, 2018.
12
                                               II. PARTIES
13
       4. Plaintiffs SITHA THACH AND MEINCHANNY MEM, SUCCESSORS IN INTEREST
14
          TO STEVEN THACH are the parents and an heirs at law of Steven Thach, the deceased.
15
          Plaintiffs are residents of the State of California and resided within the jurisdiction of the
16
          State of California at all times herein alleged. They bring this claim for themselves
17
          personally, as Steven Thach’s successors in interest and heirs, as personal representatives
18
          of the estate, and, as applicable, pursuant to California Code of Civil Procedure §§377.30
19

20
          and 377.60.

21     5. Defendant COUNTY OF LOS ANGELES, is, and at all times herein alleged was, a

22        public entity organized and existing under the laws of the State of California. The Los

23        Angeles County Sheriff’s Department, and the Los Angles County Department of Mental

24        Health are, and at all times herein alleged were, agencies of the County of Los Angeles.

25     6. Defendant SHERIFF JIM MCDONNELL was, until December 2, 2018, the Sheriff for

          Los Angeles County and in charge of the Los Angeles County Jail, where Steven Thach



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 1        resided at the time of this death. SHERIFF MCDONNELL was Sheriff of Los Angeles
 2        County since 2014 until the end of December 2, 2018. By California law, the Sheriff is
 3        answerable for the safekeeping of inmates in his custody. (Cal. Gov’t Code §§26605,
 4        26610; Cal. Pen. Code §4006.) SHERIFF MCDONNELL was responsible for the
 5        management and control of all Los Angeles County Jails, was responsible for the
 6        administration of the Twin Towers Correctional Facility (“TTCF”), for the selection,
 7        promotion, supervision, training, discipline and retention of agents and employees
 8        working within the TTCF, including custodial staff, counselors, advisors, nurses, doctors,
 9        physician assistants, medical staff, mental health staff, education staff, and supervisors;
10        and for the implementation of policies and procedures at TTCF. He was responsible for
11        the care, custody, and control of all inmates housed in TTCF. SHERIFF MCDONNELL
12        was regularly provided with reports concerning the treatment of mentally ill inmates,
13        improper classification of inmates in the jails, jail suicides, and other violations involving
14        the housing, care, mental health care, and treatment of inmates at TTCF. Pursuant to
15        California law and his duties as the Sheriff of Los Angeles County, SHERIFF
16        MCDONNELL is sued in his individual capacity, as a supervisor for his own culpable
17        action or inaction in the training, supervision or control of his subordinates, or his
18        acquiescence in the constitutional deprivations which this Complaint alleges, or for
19        conduct that showed reckless or callous indifference for others. SHERIFF
20        MCDONNELL’S affirmative conduct involves his knowing failure to ensure
21        enforcement of policies, rules or directives that set in motion a series of acts by others
22        which he knew or reasonably should have known would cause others to inflict a
23        constitutional injury on Steven Thach.
24     7. Defendant SHERIFF ALEX VILLANUEVA is, as of December 3, 2018, the Sheriff for
25        Los Angeles County and in charge of the Los Angeles County Jail.




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 1     8.   Defendant Jonathan E. Sherin, M.D. Ph.D, was at all times mentioned herein the
 2          Director of Los Angeles County Department of Mental Health and in charge of Jail
 3          Mental Health operation in Los Angeles County, where Steven Thach resided at the time
 4          of his death. Dr. Sherin was responsible for the management and administration of mental
 5          health services; for the selection, promotion, supervision, training, discipline and
 6          retention of mental health workers working within the jail, including counselors, nurses,
 7          doctors, physician assistants, mental health staff and supervisors; and for the
 8          implementation of mental health policies and procedures at the jail. Dr. Sherin was
 9          regularly provided with reports concerning the treatment of mentally ill inmates, jail
10          suicides, and other violations involving the mental health care and treatment of inmates at
11          the jail. Pursuant to California law and his duties as the Director of the Department of
12          Mental Health of Los Angeles County, Dr. Sherin is sued in his individual capacity, as
13          supervisor for his own culpable action or inaction in the training, supervision or control
14          of his subordinates, or his acquiescence in the constitutional deprivations which this
15          Complaint alleges, or for conduct that showed reckless or callous indifference for others.
16          Dr. Sherwin’s affirmative conduct involved his knowing failure to ensure enforcement of
17          policies, rules or directives that set in motion a series of acts by others which he knew or
18          reasonably should have known would cause others to inflict a constitutional injury on
19          Steven Thach.
20     9.   Defendant Curley Bonds, M.D. was at all times mentioned herein the Chief Deputy
21          Director of the Los Angeles County Department of Mental Health and in charge of the
22          Clinical Operation. Dr. Bonds was responsible for the management and administration of
23          mental health services in the Los Angeles County Jail system, including TTCF, the
24          facility where Steven Thach resided at the time of his death; for the selection, promotion,
25          supervision, training, discipline and retention of mental health workers working within




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 1        the TTCF, including counselors, nurses, doctors, physician assistants, mental health staff
 2        and supervisors; and for the implementation of mental health policies and procedures at
 3        TTCF. Dr. Bonds was regularly provided with reports concerning the treatment of
 4        mentally ill inmates, jail suicides, and other violations involving the mental health care
 5        and treatment of inmates in the Los Angeles County jail system. Pursuant to California
 6        law and his duties as the Deputy Director of the Department of Mental Health of Los
 7        Angeles County, Dr. Bonds is sued in his individual capacity, as supervisor for his own
 8        culpable action or inaction in the training, supervision or control of his subordinates, or
 9        his acquiescence in the constitutional deprivations which this Complaint alleges, or for
10        conduct that showed reckless or callous indifference for others. Dr. Bonds affirmative
11        conduct involved his knowing failure to ensure enforcement of policies, rules or
12        directives that set in motion a series of acts by others which he knew or reasonably
13        should have known would cause others to inflict a constitutional injury on Steven Thach.
14     10. Defendant Dr. Gul M. Ebrahim, was at all times mentioned herein a treating psychiatrist
15        for Steven Thach in the Los Angeles County Jails and responsible for providing
16        competent mental health and medical care, treatment and follow-up care to Mr. Thach.
17        Dr. Ebrahim is sued in his individual capacity.
18     11. Plaintiffs are informed and believe and thereon allege that Defendants sued herein as
19        DOES 1 through 10, inclusive, were employees of the County of Los Angeles, including
20        but not limited to deputies and civilian staff of the Los Angeles County Sheriff’s
21        Department, employees of the Department of Mental Health, and employees of the
22        Medical Services Bureau, and were at all relevant times acting in the course and scope of
23        their employment and agency. Each Defendant in the agent of the other. Plaintiffs allege
24        that each of the Defendants named as a “DOE” was in some manner responsible for the
25




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 1        acts and omissions alleged herein, and Plaintiffs will ask leave of this Court to amend the
 2        Complaint to allege such names and responsibility when that information is ascertained.
 3                                   III. GENERAL ALLEGATIONS
 4     12. Plaintiffs are informed and believe, and thereon allege, that, at all times herein
 5        mentioned, each of the Defendants was the agent and/or co-conspirator of each of the
 6        remaining Defendants, and in doing the things hereinafter alleged, was acting within the
 7        scope of such agency, employment and/or conspiracy, and with the permission and
 8        consent of other co-Defendants.
 9     13. Each paragraph of this complaint is expressly incorporated into each cause of action
10        which is part of this complaint.
11     14. The acts and omissions of all Defendants were engaged in maliciously, callously,
12        oppressively, wantonly, recklessly, and with deliberate indifference to the rights of
13        Plaintiff.
14                                   IV. FACTUAL ALLEGATIONS
15     15. On March 26, 2018, inmate, Steven Thach (“Thach”) committed suicide inside the Men’s
16
          Central Jail. Mr. Thach attempted a previous suicide in Los Angeles County Jail in or
17
          around September 13, 2017.          The Los Angeles County Jail acted with deliberate
18
          indifference to Steven Thach’s reasonable security in that it
19
          *       ignored and/or failed to reasonably monitor or provide security for Mr. Thach;
20
          *       failed to prevent Mr. Thach from committing harm to himself;
21
          *       failed to seek immediately indicated access to mental and medical care for Mr.
22
                  Thach; and
23

24        *       ignored his serious but treatable mental health condition.

25




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 1     16. In or around September 9, 2017, the Long Beach Police Department arrested Mr. Thach
 2
          for violation of a restraining order. At the time of the arrest, Mr. Thach told the Long
 3
          Beach Police Department that he suffered from schizophrenia and other unspecified
 4
          psychological problems.
 5
       17. On September 13, 2017, Mr. Thach tried to hang himself in the Los Angeles County Jail
 6
          Inmate Reception Center. Thereafter, medical personnel gave him a suicide gown and
 7
          placed him on suicide precaution with observation every 15 minutes. Medical personnel
 8
          described Mr. Thach’s behavior as bizarre and self-harming. Mr. Thach remained on
 9

10        suicide watch through October 2017. Mr. Thach was ultimately released from custody on

11        October 30, 2017. Prior to his release jail doctor’s commented on Mr. Thach’s “grossly

12        psychotic state and manic behavior.”

13     18. Mr. Thach was rearrested on December 10, 2017 for false imprisonment and vandalism.
14        According to the police report, Mr. Thach was holding a knife and a stick and threatening
15
          to rape persons inside of a sober living facility. The SWAT team was deployed and Mr.
16
          Thach was ultimately taken into custody. Police inspected Mr. Thach’s room and found
17
          that Mr. Thach had torn the walls down in his room. Police questioned Mr. Thach about
18
          the damage and Mr. Thach responded that he believed he needed to tear down the walls
19
          in order to make repairs to the location. Mr. Thach told police that he had mental health
20
          issues. It was noted that Mr. Thach was withdrawn and had a blank stare.
21

22
       19. Defendants, Dr. Gul Ebrahim examined Mr. Thach on December 16, 2017. Dr. Ebrahim

23        noted that Mr. Thach was talking to himself, had a flat affect, and minimum eye contact.

24        Dr. Ebrahim diagnosed Mr. Thach with schizophrenia and noted that Mr. Thach had been

25




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 1        hospitalized multiple times for mental health issues. Dr. Ebrahim noted bizarre and
 2
          uncooperative behaviors.
 3
       20. It does not appear that Dr. Ebrahim knew, appreciated or gave appropriate consideration
 4
          to the fact that Mr. Thach had attempted a suicide in the jail three months earlier. Indeed,
 5
          no Sheriff department official appeared to appreciate Mr. Thach serious mental health
 6
          history.
 7
       21. By January 12, 2018, Mr. Thach was moved to a single private room. By January 12,
 8
          2018, the jail discontinued all suicide monitoring despite Mr. Thach’s documented
 9

10        history of suicidal and self-harming conduct.

11     22. By January 17, 2018, a medical doctor noted that Mr. Thach was depressed. By January

12        20, 2018, Mr. Thach requested mental health treatment. Mr. Thach again asked to see a

13        mental health professional on January 23, 2018. Mr. Thach was not seen by a mental
14        health professional until February 1, 2018 and even then he only was able to see a
15
          psychiatric social worker. Mr. Thach told the social worker that his medication was not
16
          effective. The social worker only referred Mr. Thach for the psych-line for routine
17
          follow-up.
18
       23. At the psych line, Mr. Thach finally had an opportunity for a brief psychiatric assessment
19
          on February 9, 2018.       Mr. Thach again complained about his medication.             The
20
          psychiatrist returned him to general housing.
21

22
       24. Despite his history, Mr. Thach was not observed by psychiatric officials and no suicide

23        precautions were taken.

24     25. Mr. Thach hung himself with a blanket on March 26, 2018. At the time he hung himself,

25        he had not seen psychiatrist for nearly 2-months.




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 1     26. Los Angeles County jail failed to provide prompt and competent access and delivery of
 2
             mental health attention and intervention and failed to reasonably monitor Mr. Thach to
 3
             prevent him from committing harm to himself. The Los Angeles County Jail and the
 4
             Department of Mental Health ignored his serious but treatable mental health condition.
 5
             As a result, Mr. Thach committed suicide.
 6
             THE COUNTY OF LOS ANGELES COUNTY SHERIFF, DEPARTMENT OF
 7
             MENTAL HEALTH, AND MEDCIAL SERVICES BUREAU’S POLICIES,
 8
             CUSTOMS AND PRACTICES VIOLATING THE RIGHTS OF PERSONS WITH
 9
             MENTAL ILLNESS, VIOLATED THE EIGHTH AND FOURTEENTH
10
             AMENDMENTS OF THE UNITED STATES CONSTITUTION BY FAILING TO
11
             PROVIDE ADEQUATE MENTAL HEALTH SERVVICES AND ADEQUATE
12
             PROTECTION TO STEVEN THACH.
13
       27. On September 5, 1997, the United States Department of Justice (“DOJ”) advised Ms.
14
             Joanne Sturges, the Los Angeles County Executive, the results of its June 6, 1996
15
             investigation into the mental health conditions of the Los Angeles County Jails pursuant
16
             to the Civil Rights of Institutionalized Persons Act, 42 U.S.C. §§1997 et seq. The DOJ
17
             concluded that “unconstitutional conditions exist at the Los Angeles County Jail,
18
             including a deliberate indifference to inmates serious mental health needs.” After
19
             itemizing multiple unconstitutional conditions pertaining to the treatment of inmates with
20
             mental health conditions, the DOJ made Recommended Remedial Measures which
21
             specifically focused on suicide prevention, including but not limited to: “recognizing and
22
             responding to indication of suicidal thoughts” and “proper suicide observation.”
23
       28.     Subsequently, the Los Angeles County and the United States entered into a
24
             Memorandum of Agreement Regarding Mental Health Services at the Los Angeles
25
             County Jail (“MOA”) which was entered into to avoid potential litigation concerning the




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 1         mental health services at the jail. Among the provisions in the agreement is the
 2         acknowledgment that:
 3                      a. the “Sheriff of Los Angeles County, and the Los Angeles County
 4                          Sheriff’s Department of Mental Health are responsible for overseeing
 5                          and/or providing mental health services to the inmates at the Jail;”
 6                      b. the “Mental health staff shall make weekly rounds in locked down non-
 7                          mental housing modules (e.g. administrative segregation, disciplinary
 8                          segregation) at the Jail to identify inmates who may have been missed
 9                          during screening or who have decompensated while in the Jail;”
10                      c. “the County shall provide adequate mental health treatment to all inmates
11                          determined to be mentally ill;”
12                      d. “the County shall ensure adequate therapy and counseling for all
13                          mentally ill inmates who need such care. This includes adequate space
14                          for treatment, adequate staff to provide treatment, and adequate
15                          therapeutic programming;”
16                      e. “the County shall ensure that inmates observed to be potentially suicidal
17                          receive appropriate crisis intervention, (including placement in a safe
18                          setting and evaluation in a timely manner), by qualified mental health
19                          professional to determine whether and what level of suicide observation
20                          is required;”
21                      f. “the County shall provide sufficient mental health staffing to ensure timely
22                          access to adequate mental health treatment and meet the obligations and
23                          provide the services listed in this Agreement;”
24                      g. “the County shall implement mandatory orientation and continuing
25                          competency bases in-service training for correctional staff in the




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 1                          identification and custodial care of mentally ill inmates, including, but
 2                          not limited to: (b) recognizing and responding to indications of suicidal
 3                          thoughts, (c) proper suicide observation, and (f) response to mental
 4                          health crises, including suicide intervention . . . the County shall provide
 5                          annual refresher training;” and,
 6                      h. “Staff shall not be permitted to physically, verbally, or mentally abuse
 7                          inmates with mental illness.”
 8      29. The County of Los Angeles has repeatedly been pout of compliance with the 2002 MOA
 9         relating to the treatment of the mentally ill. After performing an extensive investigation-
10         reflecting four completed suicides in 2012, ten completed suicides in 2013, and one
11         completed suicide in January, 2014- the Department of Justice found: “Based on our
12         review, we conclude that the County violates the Eighth and Fourteenth Amendments of
13         the United States Constitution by failing to provide adequate mental health services and
14         protect prisoners from serious harm and risk of harm at the Jails due to inadequate suicide
15         prevention practices. Consistent with the practice of our long-standing investigation of
16         the Jails pursuant to the Civil Rights of Institutionalized Persons Act (“CRIPA”), 42
17         U.S.C. §1997, we write to update our conclusions of September 5, 1997 regarding mental
18         health treatment and suicide prevention at the Jails and to discuss the minimum remedial
19         steps necessary to address the identified deficiencies.”
20      30. The Department of Justice concluded that “Los Angeles County, including the Sheriff’s
21         Department and the Department of Mental Health, violates prisoners’ constitutional right
22         to adequate suicide prevention practices, which is required as part of the Jails’ legal
23         obligation to meet the serious mental health care needs for all prisoners’ constitutional
24         right to adequate suicide prevention practices, which is required as part of the Jails’ legal
25         obligation to meet the serious mental health care needs of all prisoners. These




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 1         deficiencies pose a substantial risk of serious harm to prisoners in violation of the
 2         Fourteenth Amendment’s due process protections for pretrial detainees, as well as the
 3         Eighth Amendment’s protections for those convicted of a criminal offense.”
 4      31. The June 4, 2014 DOJ letter articulated numerous systemic failures of Defendant
 5         COUNTY to maintain constitutionally adequate mental health care which directly applied
 6         to the unconstitutional treatment of Steven Thach and his untimely death. These
 7         conditions, include, but are not limited to:
 8                      a. There were inadequate mental health care to prevent prisoners from
 9                          becoming suicidal, to identify suicidal prisoners, or to prevent prisoners
10                          from going into crisis.
11                      b. The Los Angeles County Jails do not provide appropriate custodial
12                          supervision for prisoners, resulting in repeated lapses in the Jails’ safety
13                          check, creating a serious risk of harm to prisoners from suicidal
14                          behavior;
15                      c. The general lack of adequate supervision is especially troubling given
16                          the hazardous condition, including known suicide risks that exist in
17                          nearly every housing unit in the jails. Prisoners with mental illness are
18                          housed in conditions that present, rather than prevent, a risk of suicide.
19                          Deputies do not consistently perform timely, thorough safety checks.
20                      d. Custody staff of the LASD, the Medical Services Bureau, and the
21                          Department of Mental Health had inadequate intake screening and
22                          identification of individuals with mental illness and are at risk for
23                          suicide, ignoring significant mental health history;
24                      e. Incomplete information collection and communication in intake
25                          assessments and evaluations: Although LASD conducts screenings to




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 1                           identify prisoners who may be at risk for suicide or self-harm,
 2                           screenings are often not filled out completely or adequately incorporated
 3                           into the prisoner’s electronic medical record. As a result, intake
 4                           screening is insufficient to identify and protect individuals at risk for
 5                           suicide;
 6                       f. Custody staff of the LASD, the Medical Services Bureau, and the
 7                           Department of Mental Health often operate in “silos” when addressing
 8                           suicide incidents and risks, resulting in a lack of communication, or
 9                           miscommunication between representatives of these entities, causing a
10                           critical breakdown in the custody and care of the prisoners in the Jails;
11                       g. Insufficient mechanisms to ensure that any relevant information
12                           regarding a prisoner’s medical or mental health status or history (for
13                           example, from the arrest report) is communicated to medical and mental
14                           health staff for inclusion in the prisoner’s electronic medical record;
15                       h. Despite the onslaught of suicide attempts in the years preceding Steven
16                           Thach’s death, there was a persistent failure of the Jails’ command staff
17                           to critically review the policies, staffing and custody practices to the
18                           suicides and the suicide attempts that were occurring;
19                       i. The prevalence of hazardous conditions within the Jails which promote
20                           the risk of suicide;
21                       j. The practice of placing potentially suicidal inmates into single cells by
22                           custody staff without consulting prisoner classification or mental health
23                           staff;
24      32. But in addition to listing the persistent flaws in the suicide prevention practices and the
25         treatment of mentally ill inmates in Los Angeles jails, in illustrating the severe failure of




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 1         Defendant COUNTY to comply with the 2002 MOA, and its failure to meet the standard
 2         of care required by the Eighth and the Fourteenth Amendments of the United States
 3         Constitution, the DOJ highlighted specific inmates whose suicides occurred while in
 4         custody as examples of Defendant COUNTY’S substandard, unconstitutional treatment
 5         of inmates with mental health illness and who were at risk of suicide. The inmates
 6         referenced as examples in the June 4, 2014 DOJ letter demonstrated how Defendant
 7         COUNTY- specifically its Custody staff of the LASD, the Medical Services Bureau, and
 8         the Department of Mental Health- all contributed to the prevalence of inmate suicides in
 9         the Los Angeles County Jails facilities from 2012 through 2014.
10      33. Beyond these flagrant conditions which contributed to Steven Thach’s suicide, the June
11         4, 2014 DOJ letter also emphasized the failure of the COUNTY to critically review an
12         inmate’s suicide after it occurred, thereby ratifying the prior unconstitutional conduct and
13         furthering the likelihood of similar misconduct in the future:
14                        The many errors in the critical incident reviews, errors of both omission
15                        and inaccurate recording, create suspicion with regard to their veracity.
16                        For example, the final critical incident review for the suicide of Dean is
17                        marked by error in facts and appears to be the product of cutting and
18                        pasting from another suicide that occurred prior to Dean’s death.
19                        Inconsistencies and errors in his age, his record of incarceration in the
20                        Jails, and in the dates of critical incident review meetings make the entire
21                        review document questionable. Apparently none of these errors were
22                        noted by members of the review committee, as they remained in the
23                        critical incident review three months after Dean’s death.
24      34. The actions and inactions of LASD, the Department of Mental Health and Medical
25         Services Bureau set forth in the processing paragraphs were known or should have been




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 1           known to the policy makers responsible for the Defendant COUNTY and occurred with
 2           deliberate indifference to either the recurring constitutional violations elaborated able,
 3           and/or to the strong likelihood that constitutional rights would be violated as a result of
 4           failing to train, supervise or discipline in areas where the need for such training was
 5           obvious.
 6      35. The actions and omissions of Defendant COUNTY and its Sheriff’s Department,
 7           Department of Mental Health, and Medical Services Bureau set forth in the preceding
 8           three paragraphs were a motivating force behind the violations of Steven Thach’s
 9           constitutional rights as set forth in this complaint.
10      36. On August 5, 2015, Defendant COUNTY and the United States Department of Justice
11           entered a settlement agreement concerning the provision of mental health care at the Los
12           Angeles County Jail. The Settlement Agreement was specifically intended to ensure
13           measures to protect prisoners from conditions that “place them at unreasonable risk of
14           harm from suicide, self-injurious behavior, or unlawful injury by others, in accordance
15           with their constitutional rights.”
16      V.     The settlement agreement required, inter alia, that the COUNTY and LASD commence
17                  a systemic review of all prisoner housing, beginning with FIP, HOH, Moderate
18                   Observation and single- person discipline cells, to identify and address suicide
19                            hazards, using a nationally-recognized audit tool for review.
20                      VI. PARTICIPATION, STATE OF MIND AND DAMAGES
21      37. All Defendants acted without authorization of law.
22      38. Each Defendant participated in the violations alleged herein, or directed the violations
23           alleged herein, or know of the violations alleged herein and failed to act to prevent them.
24           Each Defendant ratified, approved or acquiesced in violations alleged herein.
25




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 1      39. As joint actors with joint obligations, each Defendant was and is responsible for the
 2            failures and omissions of the other.
 3      40. Each Defendant acted individually and in concert with the other Defendants and others
 4            not named in violating Plaintiff’s rights.
 5      41. Each Defendant acted with a deliberate indifference to or, reckless disregard for, an
 6            accused’s rights for adequate mental health care in a custodial facility.
 7      42.    As a direct and proximate result of the aforesaid acts, omissions, customs, practices,
 8            policies and decisions of Defendants, Mr. Thach suffered great fear, physical and mental
 9            suffering, anguish, confusion, anxiety, nervousness, and ultimately loss of life during the
10            time period in which LASD, Department of Mental Health and Medical Services Bureau
11            failed to provide appropriate psychiatric care and treatment for his urgent psychiatric
12            condition, and in particular, suffered acute and unmitigated mental and physical suffering
13            during the hours preceding his suicide on March 26, 2018.
14      43. As a direct and proximate result of the aforesaid acts, omissions, customs, practices,
15            policies and decisions of the Defendants, Plaintiffs have suffered great mental and
16            physical pain, suffering, anguish, fright, nervousness, anxiety, shock, humiliation,
17            indignity, embarrassment, harm to reputation, and apprehension, which have caused
18            Plaintiffs to sustain damages in a sum to be determined at trial.
19      44.     Due to the acts of the Defendants, Plaintiffs have suffered, and continue to suffer, and
20            are likely to suffer in the future, extreme and severe mental anguish as a well as mental
21            and physical pain and injury. For such injury, Plaintiffs will incur significant damages
22            based on psychological and medical care.
23      45. As a further result of the conduct of each of these Defendants, Plaintiffs have been
24            deprived of familial relationships, including the loss of their son, Steven Thach, and the
25            emotional impact on their family unit as a whole.




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 1      46. The aforementioned acts of the Defendants, and each of them, was willful, wanton,
 2         malicious, oppressive, in bad faith and done with reckless disregard or with deliberate
 3         indifference to the constitutional rights of Plaintiffs, entitling Plaintiffs to exemplary and
 4         punitive damages from each defendant other than Defendant COUNTY in an amount to
 5         be proven at the trial of this matter.
 6      47. By reason of the above described acts and omissions of Defendants, Plaintiffs were
 7         required to retain an attorney to institute and prosecute the within action, and to render
 8         legal assistance to Plaintiffs that they might vindicate the loss and impairment of his
 9         rights, and by reason thereof. Plaintiffs request payment by Defendants of a reasonable
10         sum for attorney’s fees pursuant to 42 U.S.C. §1988, California Code of Civil Procedure
11         §1021.5 and any other applicable provision of law.
12                                        FIRST CLAIM OF RELIEF
13                         DEPRIVATION OF CIVIL RIGHTS – 42 U.S.C. §1983
14                                   DELIBERATE INDIFFERENCE TO
15                              SERIOUS MEDICAL NEEDS AND SAFETY
16                  (Against All Defendants and Does 1-10, Except Defendant COUNTY)
17      48. Plaintiffs reallege paragraphs 1 through 47, as well as any subsequent paragraphs
18         contained in the complaint, as if fully set forth herein.
19      49. Plaintiffs are informed and believe, and based on such information and belief, allege that
20         Defendants acted with deliberate indifference for Steven Thach’s serious medical needs
21         and safety, in that they failed to provide adequate psychiatric assessment, treatment and
22         intervention; inappropriately assigned Mr. Thach to single private room housing despite
23         clear indications that he required more intensive treatment and supervision; ignored
24         and/or failed to reasonably monitor, to provide security, and to prevent Steven Thach
25         from committing harm to himself; failed to provide medically- indicated psychiatric care




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 1         and assessment; and ignored his serious but treatable mental health condition. Due to
 2         Defendants’ deliberate indifference to the serious nature an life threatening condition of
 3         Steven Thach, and their failure to timely intervene to provide reasonable security,
 4         monitoring, and safety, and psychiatric medical intervention necessary to prevent his
 5         efforts to harm himself, Steven Thach suffered preventable serious injury and harm by
 6         hanging himself.
 7      50. Steven Thach was subjected to deprivation of rights by these Defendants and DOES 1
 8         through 10, and each of them, acting under color of law and of statutes, ordinances,
 9         regulations, customs and usages of the Law of United States, State of California, which
10         rights included, but are not limited to, privileges and immunities secured to Steven Thach
11         by the Fourteenth o Eighth Amendments to the United Stated Constitution and laws of
12         the United States, and particularly: a) his right to access to mental health and medical
13         care and treatment for his serious but treatable condition; b) his right to adequate,
14         reasonable security, monitoring, supervision, classification and housing for his mental
15         health and medical disabilities, each of which was also a case of his serious injury and
16         harm.
17      51. Plaintiffs allege that these Defendants’ wrongful conduct legally caused a deprivation of
18         their constitutionally protected liberty interest in familial companionship, love and
19         society of their son, all to his damage in an amount to be proven at trial according to
20         proof.
21                                     SECOND CLAIM FOR RELIEF
22                        DEPRIVATION OF CIVIL RIGHTS -- 42 U.S.C. §1983
23                       (Against Defendant COUNTY) – MONELL VIOLATIONS
24      52. Plaintiffs reallege paragraphs 1 through 51 as well as any subsequent paragraphs
25         contained in the complaint, as if fully set forth herein.




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 1      53. Plaintiffs are informed and believe and thereon allege that, at all times herein mentioned,
 2         Defendants COUNTY OF LOS ANGELES, with deliberate indifference, and conscious
 3         and reckless disregard to the safety, security and constitutional and statutory rights of
 4         Steven Thach, engaged in the unconstitutional conduct and omissions as is specifically
 5         elaborated in Paragraph 17-52 et seq. above.
 6      54. Plaintiffs are informed and believe, and thereon allege, that, at all times herein
 7         mentioned, Defendant COUNTY OF LOS ANGELES, Los Angeles Sheriff’s
 8         Department, and DMH, with deliberate indifference, and/or conscious or reckless
 9         disregard to the safety and constitutional rights of Steven Thach, and other inmates with
10         severe mental health conditions, maintained, enforced, tolerated, ratified, permitted,
11         acquiesced in, and/or applied the policies, practices, and customs set forth in Section IV,
12         C, above, including, but not limited to: failure to provide adequate mental health services;
13         failure to mitigate or eliminate known environmental, suicide hazards prevalent
14         throughout jail housing areas, including housing areas to which inmates with serious
15         mental illness are assigned; failure to provide appropriate custodial supervision of
16         inmates with mental health conditions - despite known suicide hazards; failure to ensure
17         that mental health housing and treatment spaces meet minimum safety design standards
18         for facilities in which person with serious mental illness are held; failure to ensure
19         sufficient treatment space and staffing necessary to provide adequate mental health care;
20         inadequate intake screening and assessment for housing placement; inadequate
21         monitoring and assessment of inmates’ mental health conditions; insufficient mechanisms
22         to ensure communication of relevant information between custodial, medical and mental
23         health staff; failure to ensure appropriate suicide intervention measures; and failure to
24         ensure adequate training of correctional staff in suicide prevention and responding to
25         mental health care crises.




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 1      55. Plaintiffs are informed and believe, and thereon allege, that at all times herein mentioned,
 2         individual Defendants; wrongful conduct was the result of policies, practices and customs
 3         to subject inmates of the Los Angeles County Jails to unconstitutionally inadequate
 4         treatment for inmates with mental health conditions; permit and promote unsafe
 5         conditions for inmates leading to a heightened risk of suicide; and cover-up incidents of
 6         unconstitutional behavior by members of its LASD custody staff, Medical Services
 7         Bureau and Department of Mental Health.
 8      56. At all times herein mentioned, the County of Los Angeles and its Sheriff’s Department,
 9         the Medical Health authorized and ratified the wrongful acts of the individual
10         Defendants. The actions and inactions of the LASD including it custody staff, the Medial
11         Services Bureau, and the Department of Mental Health set forth in paragraph 17-55, et
12         seq. were known or should have ben known to the policy makers responsible for Los
13         Angeles COUNTY, and occurred with deliberate indifference to either the recurring
14         constitutional violations elaborated above, and/or to the strong likelihood that
15         constitutional rights would be violated as a result of failing to train, supervise or
16         discipline in areas where the need for such training and supervision was obvious.
17      57. The actions of the LASD including its custody staff, the Medical Services Bureau, and
18         the Department of Mental Health set forth herein were a motivating force behind the
19         violations of Plaintiffs’ and Steven Thach’s constitutional rights as set forth in this
20         complaint.
21      58. As a direct and proximate result of Defendant COUNTY OF LOS ANGELES’ policies,
22         practices, and customs, Plaintiffs sustained injury and damage as proved.
23      59. As a result of Defendants’, and each of their, violations of Plaintiffs’ and Steven Thach’s
24         constitutional rights as set forth herein, Plaintiffs were damaged as alleged above.
25




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 1                                    THIRD CLAIM OF RELIEF
 2                     DEPRIVATION OF CIVIL RIGHTS – 42 U.S.C. §1983
 3               FAILURE TO SUPERVISE, TRAIN AND TAKE CORRECTIVE
 4                   MEASURE CAUSING CONSTITUTIONAL VIOLATIONS
 5        (Against Supervisory Defendants and DOES 1-10 Except Defendant COUNTY)
 6      60. Plaintiffs reallege paragraphs 1 through 59, as well as any subsequent paragraphs
 7         contained in the complaint, as if fully set forth herein.
 8      61. Plaintiffs are informed and believe and thereon allege that Defendants SHERIFF JIM
 9         MCDONALD, SHERIFF ALEX VILLANUEVA, JONATHAN E. SHERIN, M.D.
10         Ph.D, CURLEY BONDS, M.D., GUL M. EBRAHIM, M.D., and DOES 1-10 knew, or in
11         the exercise of reasonable care, should have known a history and propensity and pattern
12         at the time of this incident for employees of the Los Angeles County Jail to fail to
13         provide reasonable security, monitoring and supervision of inmates such as Steven
14         Thach; to fail to comply in implementing policies and procedures or ensuring the
15         enforcement thereof; to fail to train and ensure that deputies, employees and medical care
16         providers provide reasonable security and monitoring of inmates, such as Steven Thach;
17         and that they provide prompt and competent access and delivery of mental health
18         attention and intervention when inmates, such a Steven Thach, were having a mental
19         health crisis requiring prompt intervention. Defendants’ disregard of this knowledge or
20         failure to adequately investigate and discover and correct such acts or failures to act was
21         a moving force which caused the violation of Plaintiffs’ constitutional rights.
22      62. Plaintiffs are informed and believe and thereon allege that prior to the incident alleged
23         herein, Defendants SHERIFF JIM MCDONALD, SHERIFF ALEX VILLANUEVA,
24         JONATHAN E. SHERIN, M.D. Ph.D, CURLEY BONDS, M.D., GUL M. EBRAHIM,
25         M.D. and DOES 1-10, acting under the color of their authority as supervisory officers of




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 1         deputies, counselors, physicians, nurses, staff and all mental health and medical care
 2         providers, and in the course and scope of their employment as such, committed similar
 3         acts of:
 4                      a. Failure to provide access to and delivery of mental health and medical
 5                           care and treatment for inmates at Los Angeles County with known
 6                           mental disabilities;
 7                      b. Failure to provide adequate housing and properly classify inmates in the
 8                           Los Angeles County Jails so that they would have access to and delivery
 9                           of indicated mental health and medical care;
10                      c. Failure to provide adequate and reasonable monitoring and housing for
11                           inmates that present a risk of suicide to prevent mental health disasters
12                           such as attempted suicides and suicides;
13                      d.   Failure to supervise their subordinates to ensure that staff, deputies and
14                           employees were implementing and complying with implementing
15                           policies and procedures to ensure the reasonable security and safety of
16                           inmates;
17                      e. Discriminating against inmates with known mental health disabilities by
18                           use of a disciplinary system that increases incarceration and imposes
19                           punishment for behavior resulting from or caused by their mental health
20                           disability.
21      63. Plaintiffs are further informed and believe and thereon allege that Defendants SHERIFF
22         JIM MCDONALD, SHERIFF ALEX VILLANUEVA, COUNTY OF LOS ANGELES
23         DEPARTMENT OF MENTAL HEALTH DIRECTOR JONATHAN E. SHERIN, M.D.
24         Ph.D, CURLEY BONDS, M.D., GUL M. EBRAHIM, M.D. and DOES 1-10, knew, or in
25         the exercise of reasonable care should have known, of this pattern or practice of




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 1         unconstitutional violations, or the existence of facts which create the potential of
 2         unconstitutional acts, and these Defendants and Does 1-10 had a duty to train and instruct
 3         their subordinates to prevent similar acts to other inmates, but failed to take steps to
 4         properly train, supervise, investigate or instruct deputies, counselors, physicians and
 5         nurses, and/or agents or employees, and to retain deputies, counselors, physicians and
 6         nurses who had a history of inappropriate conduct, and as a result of Steven Thach was
 7         harmed in the manner threatened by the pattern or practice.
 8      64. At all times herein mentioned, and prior hereto, Defendants had the duty to perform the
 9         following, and violated that duty:
10                      a. To train, supervise, and instruct deputies, counselors, nurses, physician
11                          assistants, physicians, and other agents to ensure that they respected and
12                          did not violate federal and state constitutional and statutory rights of
13                          inmates;
14                      b. To objectively investigate incidents of in-custody injury, deaths, suicides
15                          and suicide attempts, inadequate classification and contraindicated
16                          house, and to take remedial action;
17                      c. To provide access to and delivery of mental and medical health care,
18                          intervention, treatment, follow-up, and attention to injured, ill or
19                          potentially suicidal inmates, the lack of which resulted in serious injury
20                          or loss of life, and to provide access and delivery of competent mental
21                          and medical health care;
22                      d. To periodically monitor an inmate’s serious mental health and medical
23                          condition and suicide prevention, the lack of which may result in serious
24                          injury or loss of life;
25




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 1                    e. To periodically monitor the quality and adequacy of mental health and
 2                         medical care, attention and treatment provided to mentally ill inmates;
 3                    f. To periodically monitor the competency of medical and custodial
 4                         staffing to ensure that custodial deputies and staff were complying with
 5                         reasonable security to inmates with mental health disabilities at Los
 6                         Angeles County Jails;
 7                    g. To periodically monitor the classification and housing of mentally ill
 8                         inmates to ensure they have reasonable security and safety and are
 9                         properly housed, and not housed with or exposed to persons with known
10                         dangerous propensities;
11                    h. To comply with the statutory guidelines and regulations enacted for the
12                         protection of inmates held in a custodial setting;
13                    i. To discipline and to establish procedures to correct past violations, and
14                         to prevent future occurrences of violation of constitutional rights of
15                         inmates, by not condoning, ratifying, and/or encouraging the violation of
16                         Steven Thach’s and other inmate’s constitutional rights;
17                    j. To periodically train custodial staff and counselors on understanding,
18                         recognizing, reporting, and responding to issues of inmates’ mental
19                         health care and treatment; and
20                    k.   Not to discriminate against inmates with known mental health
21                         disabilities by use of a disciplinary system that increases incarceration
22                         and imposes punishment for behavior resulting from or caused by their
23                         mental health disability.
24      65. As a legal result of the conduct of Defendants SHERIFF JIM MCDONALD, SHERIFF
25         ALEX VILLANUEVA, JONATHAN E. SHERIN, M.D. Ph.D, CURLEY BONDS,




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 1         M.D., GUL M. EBRAHIM, M.D. and Does 1-10, as described above, Plaintiffs were
 2         damaged as alleged here in and as set forth above.
 3                                      FOURTH CLAIM OF RELIEF
 4                                               NEGLIGENCE
 5                 (Against All Defendants and DOES 1-10, Except Defendant COUNTY)
 6      66. Plaintiffs reallege paragraphs 1 through 65, as well as any subsequent paragraphs
 7         contained in the complaint, as if fully set forth herein.
 8      67. Defendants and DOES 1-10, had a duty to provide reasonable security and render access
 9         and delivery of mental and medical care, treatment and/or emergency services to Steven
10         Thach for his mental health condition but breached their duty and were negligent in the
11         performance of their duties and this negligence caused the death of Steven Thach.
12      68. Defendants and DOE supervisors 1-10, acting within the course and scope of their
13         employment with the LASD, the Department of Mental Health and the Medical Services
14         Bureau had a duty to assure the competence of their employee/agents Defendants and
15         DOES 1-10, but breached their duty and were negligent in the performance of their duties
16         by selecting, hiring, training, reviewing, periodically supervising, failing to supervise,
17         evaluating the competency and retaining their Defendant deputies, counselors, physicians
18         and/or employees and/or agents. This breach of duty of careful selection, hiring, training,
19         review, supervision, periodic evaluation of the competency, and other staff created an
20         unreasonable risk of harm to persons such as Steven Thach.
21      69. The individually named Defendants breached their duty of care to observe, report,
22         monitor, and provide reasonable security regarding Steven Thach’s condition and failed
23         to prevent his suicide.
24      70. As a direct and legal result of the aforesaid negligence, carelessness and unskillfulness of
25         Defendants, and each of them, and as a result of their breach of duty of care to Steven




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 1         Thach, he was injured due to a serious but treatable mental health condition and Plaintiffs
 2         have suffered the damages as alleged above.
 3      71. As a legal result of the aforesaid negligence and unskillfulness of Defendants, Steven
 4         Thach’s trauma and injuries and/or suicidal ideation condition dud not receive timely,
 5         appropriate and indicated intervention and treatment and his condition worsened and
 6         resulted in his suicide, and he suffered serious injury and harm as a legal cause of the
 7         negligent conduct of Defendants, thereby causing damage as alleged above.
 8                                   FIFTH CLAIM FOR RELIEF
 9                        VIOLATION OF CALIFORNIA GOV’T CODE §845.6
10                        (Against All Defendants Except Defendant COUNTY)
11      72. Plaintiff realleges paragraphs 1 through 71, as well as any subsequent paragraphs
12         contained in the complaint, as if fully set forth herein.
13      73. By virtue of the foregoing, Defendants, including but not limited to representatives of the
14         LASD, the Department of Mental Health and Medical Services Bureau knew or had
15         reason to know that Steven Thach needed intensive medical care and that he had serious
16         and obvious mental and medical conditions that put the staff on notice that he should
17         have had his medical and mental condition closely monitored, going forward from
18         January 12, 2018; that he should have been prevented from unsupervised and
19         unrestrained access; that on or before January 1, 2018 he needed immediate medical care
20         and was not given such care. The failure to provide immediate medical care and mental
21         health care, where his health and mental condition were deteriorating, proximately caused
22         his suicide.
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 1                                   SIXTH CLAIM FOR RELIEF
 2               VIOLATION OF AMERICANS WITH DISABILITY ACT (ADA)
 3         TITLE II, 42 U.S.C. §12101 et seq., THE REHABILITATION ACT, 29 U.S.C.
 4          §794, AND CALIFORNIA UNRUH ACT, CAL. CIVIL CODE §§51, et seq.
 5                       (Against All Defendants and Defendant COUNTY)
 6      74. Plaintiffs reallege paragraphs 1 through 73, as well as any subsequent paragraphs
 7         contained in the complaint, as if fully set forth herein.
 8      75. Steven Thach was a “qualified individual,” with a mental impairment that substantially
 9         limited his ability to care for himself and control his mental, medical or physical health
10         condition as defined under the Americans with Disabilities Act (ADA) TITLE II, 42
11         U.S.C. §12131 (2), under Section 504 of the Rehabilitation Act of 1973 (RH), 29 U.S.C.
12         §794 and Cal. Civ. Code §51, et seq., and qualified as an individual with a disability
13         under California law, and he met the essential eligibility requirements of the County of
14         Los Angeles’ and Los Angeles Sheriff’s Departments’ programs to provide
15         mental/medical health services for its inmate patients in the Los Angeles Sheriff’s
16         Department. Further, the Sheriff’s Department had signed an agreement with the U.S.
17         Department of Justice to ensure that the mentally ill in the jails received indicated and
18         required psychiatric care and treatment, that they would be protected from self-harm
19         through suicide.
20      76. Defendant Los Angeles COUNTY and its jails and mental health services are a place of
21         public accommodation and a covered entity for purposes of enforcement of the ADA, 42
22         U.S.C. §12131 (2), under Section 504 of the Rehabilitation Act of 1973, and Cal. Civ.
23         Code §51, seq., explicated by the regulations promulgated under each of the laws.
24

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 1      77. Defendant Los Angeles County mental health services “engaged in the business of . . .
 2            health care,” custody for persons whose “operations” fall within the definition of
 3            “program or activity” covered by the Rehabilitation Act, 29 U.S.C. Section 794(b).
 4      78. Under the ADA, Los Angeles County is mandated to “develop an effective, integrated,
 5            comprehensive system for the delivery of all the service to persons with mental
 6            disabilities and developmental disabilities . . .” and to ensure “that the personal and civil
 7            rights” of persons who are receiving services under its aegis are protected.
 8      79.    Congress enacted the ADA upon a finding, among other things, that “society forms has
 9            tended to isolate and segregate individuals with disabilities’ and that such forms of
10            discrimination continue to be a “serious and pervasive social problems.” 42 U.S.C.
11            §12101 (a)(2).
12      80. Los Angeles COUNTY is mandated under the ADA, “not to discriminate against any
13            qualified individual on the basis of disability in the full and equal enjoyment of the
14            goods, services, facilities, privileges, advantages, or accommodations of any place of
15            public accommodation.” 42 U.S.C. §12182 (a).
16      81. Defendant Los Angeles COUNTY receives federal financial assistance for their jails, and
17            therefore must comply with the mandates of the Rehabilitation Act, §504, which specifies
18            that “program or activity” means all the operations of. . . . A department, agency, special
19            purpose district, or other instrumentality of a State or of a local government.
20      82. Defendant Los Angeles COUNTY and other Defendants violated the ADA and the RA
21            and Cal. Civ. Code §51, et seq., and deprived Steven Thach and Plaintiffs of their
22            federally and state protected rights by: (a) creating and maintaining a number of
23            programs and services to protect the mentally disabled that operate in conjunction with
24            Los Angeles COUNTY’s jails; (b) failing to provide services or accommodate Steven
25            Thach with access to the programs and services of Los Angeles COUNTY’S designated




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 1         mental health facilities within Los Angeles County Jails for persons who qualify for
 2         access and services under California and federal law; (c) failing to provide services or
 3         accommodate Steven Thach as indicated and with appropriate classification, housing and
 4         monitoring for a person in their sole and exclusive custody who they knew was mentally
 5         disabled; (d) failing to provide reasonable accommodations to people in custody with
 6         mental disabilities at their jails, and providing instead quality of care and service that is
 7         different, separate, and worse than the service provided to other individuals with the same
 8         disabilities; (e) failing to properly train its deputies, medical and mental health staff
 9         employees and officers on how to peacefully respond, treat, and interact with disabled
10         persons, such as Steven Thach; and (f) failing to comply with the U.S. Department of
11         Justice requirements regarding care, treatment and security to persons with mental
12         disabilities, resulting in discrimination against Steven Thach, under the ADA and RA.
13      83. Steven Thach was denied the benefits of the services, programs, and activities of Los
14         Angeles COUNTY which deprived him of mental health and medical health programs
15         and services which would have been provided the delivery of treatment, follow-up, and
16         supervision. This denial of programs and services was the result of his disability in that
17         he was discriminated against because he was mentally ill and “gravely disabled,” in that
18         he suffered from conditions in which a person, as a result of a mental disorder, is unable
19         to provide for his basic personal needs and to protect himself from self-harm.
20         Defendants’ failure to train their employees, and the denial of mental and medical health
21         care, treatment, follow-up, training, supervision was result in the violation of Plaintiffs’
22         constitutional rights.
23      84. As a legal result of the acts and misconduct of the Defendants and each Defendant
24         complained of herein, Steven Thach died and Plaintiffs have suffered, are now suffering
25         and will continue to suffer damages as alleged herein.




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 1                                       PRAYER FOR RELIEF
 2      1.    General and compensatory damages in an amount according to proof;
 3      2.    Special damages in an amount according to proof;
 4      3. Exemplary and punitive damages against each Defendant, except the COUNTY OF LOS
 5           ANGELES, in an amount according to proof;
 6      4. Costs of suit, including attorneys’ fees, under 42 U.S.C. §1988, California Code of Civil
 7           Procedure §1021.5 and any other applicable provision of law; and,
 8      5.   Such other relief as may be warranted or as is just and proper.
 9                                                        Respectfully submitted,
10   DATED: December 27, 2018                             LAW OFFICES OF ROBIN D. PERRY
11
                                                          By
12
                                                                       ROBIN D. PERRY, Attorney
13                                                                     for Plaintiff Steven Thach
14

15                                           JURY DEMAND
16           Trial by jury of all issues is demanded.
17
     DATED: December 27, 2018                                  LAW OFFICES OF ROBIN D. PERRY
18
                                                          By
19
                                                                       ROBIN D. PERRY, Attorney
20                                                                     for Plaintiff Steven Thach
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